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     IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                       ALABAMA NORTHERN DIVISION

BANK OF HOPE,                         )
                                      )
      PLAINTIFF,                      )
                                      )
V.                                    )
                                      )
DAYK ENTERPRISES, INC., d/b/a )                               CIVIL ACTION NO:
Country Inn & Suites Montgomery East, )                       2:20-CV-00155-MHT
DAE SON SONG and KANG SUN SONG, )
                                      )
      DEFENDANTS.                     )
                                      )




                  RECEIVER’S OPENING REPORT AND INVENTORY


       1.      Trigild Hospitality (‘Receiver”) was appointed as receiver by the United States

District Court for the Middle District of Alabama Northern Division (this “Court”) through the

Order Appointing Receiver (“Appointment Order”) on January 21, 2021. The Receiver was

appointed to operate and maintain the real property addressed at 5155 Carmichael, Montgomery,

AL 36106 (the “Property”). The Property is a closed hotel.

2.     Attached hereto as Exhibit A is the Receiver’s Opening Report and Inventory. This report

will be served on all parties via ECF.


Executed this 22nd day of February 2021 at Dallas, Texas


                                                   Respectfully Submitted,


                                                   /s/ David Wallace

                                                   David Wallace
                                                   Agent for Receiver
                                                   david.wallace@trigild.com



OPENING INVENTORY AND TAKEOVER REPORT
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Opening Report and Inventory




                                                            EXHIBIT A
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   Country Inn & Suites Montgomery East

  Takeover Report
   5155 Carmichael Road, Montgomery, AL 36106
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         Additional Information

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                             Exhibit A

                        Takeover Report
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                        Operational Takeover Summary
                             Country Inn & Suites
               5155 Carmichael Road, Montgomery, AL 36106‐2905

Receivership Summary:

       On January 21, 2021, the United States District Court for the Middle District of
Alabama Northern Division entered that certain Order Appointing Receiver appointing Trigild
Hospitality as receiver over the specific assets of DAYK ENTERPRISES, INC DBA Country Inn &
Suites Montgomery East; DAE SON SONG & KANG SUN SONG. The Receivership Estate
includes the Country Inn & Suites Montgomery East addressed at 5155 Carmichael,
Montgomery, AL.

Property:

Property Information

      At the time of the takeover, the hotel was closed for operations.
      The hotel is flagged under the Country Inn & Suites brand.
      There is a total of 108 rooms.
      The hotel was heavily vandalized with extensive damages prior to the takeover.
       These include both interior and exterior damages that include but not limited to the
       following:
            o Copper wire theft
            o Ceiling damage
            o FF&E damage
            o Broken windows and doors
            o Mold
      Property and condition report can be found in exhibit labeled under “Property and
       Condition Report”.
      Due to safety concerns, the receivership estate was unable to complete a thorough
       inspection of the property.
      Several incidents occurred during the takeover with the police and intruders of the
       property.
      Received a letter from the city of Montgomery in regard to the property being
       condemned. The city is requesting to secure the property by boarding up the 1st floor
       windows and any windows that are broken above the 1st floor.
      All the utilities were shutoff.

Operations – Permits and Licenses

      Copies of all the available permits and licenses at the property were made during the
       takeover process.
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Operations – Insurance

      The receivership estate is currently determining and securing adequate insurance
       coverage.

Operations – Existing Vendor Agreements, Contracts, and Lease

      Copies of all the available vendor agreements and contracts were made and being
       reviewed.

Operations – Utilities

      Utility accounts were not in service at the time of the takeover.

Operations – Management

      Met with various vendors to acquire bids to secure the property.
         o Temporary fencing
         o Boarding up windows
         o Patrol service

Accounting – Bank Account

      In progress of opening a bank account under the receivership estate.
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                           Exhibit B

                             Maps
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5155 Carmichael RdMontgomery, AL 36106
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                            Exhibit C

                  Property Condition Reports
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Property Condition Report

                Location:   Country Inn & Suites
                Address:    5155 Carmichael
                    City:   Montgomery
                   State:   Alabama
                     Zip:   36106
               Phone No.    Disconnected

Facility Overview:                Good             Fair   Poor        N/A                          Comments:
Overall Curb Appeal                                 X       X
Parking Lot                                         X       X
Landscaping                                         X       X
Great Sign                                          X
Other Signs                                         X
Exterior Paint                                             X
Sidewalks                                           X      X
Trash Enclosure                                     X      X
Canopy                                                     X
Roof                                                                            Was Not Been Inspected Due to Unsafe Condition
Drainage                                                                        Was Not Been Inspected Due to Unsafe Condition
Lighting (outside)                                               Disconnected
Lighting (inside)                                                Disconnected
Plumbing                                                                        Was Not Been Inspected Due to Unsafe Condition
Restrooms                                                                       Was Not Been Inspected Due to Unsafe Condition
Floors                                                                          Was Not Been Inspected Due to Unsafe Condition
Carpet                                                                          Was Not Been Inspected Due to Unsafe Condition
Interior Paint                                                                  Was Not Been Inspected Due to Unsafe Condition
Ceiling Tiles                                                                   Was Not Been Inspected Due to Unsafe Condition
Kitchen Equipment                                                               Was Not Been Inspected Due to Unsafe Condition
Office Equipment                                                                Was Not Been Inspected Due to Unsafe Condition
POS System & Equipment                                                          Was Not Been Inspected Due to Unsafe Condition

Building Info.:
Year Built:                 unk
Building square footage:    Approx. 41,000
Construction:               Masonry
Wall:                       Stucco
Roof:                       unk
Sprinklers:                 Yes
Fire Alarm:                 Yes
Burglary Alarm:             No
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                            Exhibit D

                          Inventories
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Due to health and safety concerns, the receivership estate was unable to document inventory at the
hotel at this time. The inventory will be completed once the health and safety concerns are
remedied.
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                            Exhibit E

                         Photographs
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                            Exhibit F

                     Permits and Licenses
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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BANK OF HOPE,                             )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )
                                          )           CIVIL ACTION NO.
DAYK ENTERPRISES, INC., d/b/a             )           2:20-cv-00155-MHT
Country Inn & Suites Montgomery           )                  (WO)
East, DAE SON SONG and KANG               )
SUN SONG,                                 )
                                          )
               Defendants.                )

                      ORDER APPOINTING RECEIVER

       In accordance with the memorandum opinion entered today, it is

ORDERED that the recommendation of the United States Magistrate Judge (doc.

no. 24) is adopted, and plaintiff’s motion for appointment of a receiver (doc. no. 2)

is granted.

       It is further ORDERED as follows:

       A.     Trigild Hospitality is appointed receiver (the “Receiver”) in

accordance with the provisions of this order; and

       B.     The Receiver is hereby authorized, empowered and directed to take all

actions as specified in and in accordance with this order.
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      1.     Appointment of Receiver and the Receivership Property.

      1.1.   The Receiver is appointed receiver of the Receivership Property

owned by Defendant Dayk Enterprises, Inc. dba Country Inn & Suites

Montgomery East (the “Borrower”) located at 5155 Carmichael, Montgomery, AL

36106, Montgomery, Alabama (the “Receivership Property”), effective upon entry

of this order (the “Effective Date”). The Receiver’s duty to act as receiver is

subject to the terms of this order.

      1.2.   As of the Effective Date, the Receiver is authorized to direct and take

immediate possession and full control of the Receivership Property and to take

such other actions as the Receiver deems reasonable and appropriate to take

possession, to exercise full control over, to prevent waste, and to preserve, manage,

secure and safeguard the Receivership Property. The Borrower shall not have

either possession or control of, access to, or any right to Income (as defined below)

derived from the Receivership Property.

      1.3.   The Receiver shall take possession of and receive from all

depositories, banks, brokerages, and other entities or organizations holding

proceeds of the Receivership Property (“Financial Institutions”), whether such

funds be in accounts titled in the name of Borrower or otherwise (but excluding

any monies paid to or held by the Lender). All Financial Institutions are directed to

deliver such proceeds to the Receiver and such records as the Receiver may


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reasonably request with respect to such proceeds. The Receiver may indemnify the

Financial Institution upon whom such demand is made for the delivery to it of

Receivership Property, and is empowered to open or close any accounts with

respect to Receivership Property. The Receiver shall deposit monies and funds

collected and received in connection with the Receivership Property at a federally

insured banking institution. The Receiver is authorized to use the Borrower’s

taxpayer identification number to establish such accounts.

      1.4.     The Borrower, its partners, stockholders, officers, directors,

representatives, servants, contractors, agents, property manager, and employees

with actual or constructive notice of this order are hereby ordered to cooperate with

the Lender and the Receiver in the transition of the management of the

Receivership Property to the Receiver, and on the Effective Date shall turn over to

the Receiver all of the following pertaining to the Receivership Property (but only

to the extent that such items are in their possession, custody or control):

             (a)    All keys;

             (b)    All records pertaining to occupancy including by way of
                    illustration but not limitation, all guest ledgers, reservation
                    reports, credit card billings; cash receipts journals;

             (c)    Any guest or occupant ledgers;

             (d)    The petty cash fund, if any;

             (e)    A current aged account receivables or delinquency report;

             (f)    An aged listing of all trade payables and other payables;

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       (g)   A copy of any records relating to operating expenses for the
             Receivership Property;

       (h)   A list of utilities and utility accounts;

       (i)   Year-end 2018 operating statement and year-to-date 2019
             operating statement;

       (j)   All on-site employee payroll records and employee files and
             applications;

       (k)   An inventory of all equipment, furniture, vehicles and supplies
             for the Receivership Property;

       (l)   All existing service contracts and all licenses including but not
             limited to liquor licenses;

       (m) All franchise agreements and/or membership agreements,
           including all amendments, and copies of all by-laws, rules and
           regulations of the franchisee relating thereto;

       (n)   All signage agreements, including all amendments;

       (o)   All pending bids for contractor work;

       (p)   All insurance policies and copies of insurance certificates on
             the Receivership Property and their terms;

       (q)   All vendor insurance certificates;

       (r)   Site plans, surveys, specifications, floor plans, drawing,
             measurements, etc. for the Receivership Property;

       (s)   Documents identifying and summarizing all pending litigation
             (excluding this action);

       (t)   All documents, books, records and computer files, computer
             equipment, software, management files, equipment, furniture,
             supplies and all passwords needed to access such software and
             computer files, Email accounts maintained for the Receivership
             Property (and all off-site financial records) including, but not
             limited to, all records concerning the Income, and the operation
             and management of the Receivership Property;

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             (u)    All other books, records, security deposits, escrows, leases,
                    contracts, computers and access to all financial and other
                    information relating to the Receivership Property and the
                    operations thereon that are maintained by the Borrower, its
                    officers, agents or employees, in any form including
                    electronically, including information regarding software
                    programs utilized by such parties and all administrator access
                    codes thereto in order to permit the Receiver access to all such
                    information relating to the Receivership Property and the
                    operations thereon. To the extent that such material or
                    information is held by third parties, the Borrower shall take all
                    reasonable and necessary measures to ensure access of the
                    Receiver to the same; and,

             (v)    Such other records pertaining to the management of the
                    Receivership Property as may be reasonably requested by the
                    Receiver.

      1.5.     The Borrower shall fully cooperate with the Receiver in an attempt

to add the Receiver and the Lender as additional insureds and the Lender as the

loss payee on all insurance relating to the operation and management of the

Receivership Property including, but not limited to, fire, extended coverage,

property damage, liability, liquor liability, fidelity, errors and omissions, and

workers’ compensation, and modifying the policies if deemed appropriate by the

Receiver, but subject to (1) Lender’s written consent either directly by Lender or

its counsel, or (2) a specific order of approval from this court (either (1) or (2), an

“Approval”) for any modifications to insurance. The Borrower and its property

managers, employees, and agents are prohibited from cancelling, reducing, or

modifying any and all insurance coverage in existence with respect to the


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Receivership Property without prior Approval. If the Receiver determines in its

sole discretion that the Borrower’s insurance is inadequate to cover the

Receivership Property, Receiver and the Lender, the Receiver is authorized to

obtain fire, extended coverage, property and casualty, general liability, liquor

liability, fidelity, errors and omissions, worker’s compensation, and umbrella

insurance policies. In the event that insurance coverage is not in place, the

Receiver is authorized to obtain fire, extended coverage, property and casualty,

general liability, liquor liability, fidelity, errors and omissions, worker’s

compensation, and umbrella insurance policies.

      2.    Receiver’s Duties and Authority.

      The Receiver, provided funds are available, shall be vested with and shall

discharge the following authority, powers and duties:

      (a)   To maintain, secure, manage, operate, repair and preserve the
            Receivership Property.

      (b)   To change any and all locks to the Receivership Property and, if
            appropriate, limit access to some or all of the Receivership Property.

      (c)   To assume control over the Receivership Property and to collect and
            receive all Income.

      (d)   To prepare and maintain complete books, records, and financial
            reports of the Receivership Property, including, but not limited to,
            operating statements, income statements, balance sheets and all other
            statements prepared for the Receivership Property in a form
            acceptable to the Lender.

      (e)   To allow the Lender, its counsel and appraisers or other independent
            third-party consultants engaged by the Lender or its counsel access to

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        the Receivership Property at all reasonable times to inspect the
        Receivership Property and all books and records, and to cooperate
        with Lender, its counsel, appraisers and other independent third-party
        consultants to evaluate the Receivership Property.

  (f)   To retain, hire, or discharge on-site employees (none of whom are or
        shall be deemed to be employees of the Lender) and without any
        liability to the Receiver.

  (g)   To establish pay rates for any on-site employees.

  (h)   To review existing workers’ compensation, disability, general liability
        and “all risks” hazard insurance, to maintain the current insurance
        policies in place and to add the Lender and the Receiver as loss
        payees and additional insureds thereunder, as applicable and or obtain
        fire, extended coverage, property and casualty, general liability, liquor
        liability, fidelity, errors and omissions, worker’s compensation, and
        umbrella insurance policies.

  (i)   To maintain a separate account with a federally insured banking
        institution in the Receiver’s own name, as receiver, from which the
        Receiver shall disburse all authorized payments as provided in this
        order.

  (j)   To receive and endorse checks pertaining to the Receivership Property
        either in the Receiver’s name or in Borrower’s name.

  (k)   To pay all appropriate Receivership Property taxes, personal property
        taxes, any other taxes or assessments against the Receivership
        Property, and to contest, protest or appeal any ad valorem tax or
        assessment, real estate property tax, personal property tax or other tax
        or assessment pertaining to the Receivership Property as the Receiver
        shall deem appropriate. Any refund or reimbursement of taxes
        whether paid by the Receiver or Borrower shall be deemed Income to
        be applied as provided below.

  (l)   To prepare and file any tax returns stemming from the Receivership
        Property and the operation of the Receivership Property as may be
        required by law. The Receiver shall not be responsible for the
        preparation and filing of any tax returns for Borrower (including
        income, personal property, commercial activity, gross receipts, sales
        and use or other tax returns) other than to provide Borrower with
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        information in the Receiver’s possession that may be necessary for
        Borrower to prepare and file its tax returns. Borrower shall provide to
        the Receiver any information needed to file any tax returns for the
        Receivership Property.

  (m)   To operate the Receivership Property under any existing name or
        trade name (or new name, if the Receiver deems appropriate to do so).

  (n)   To open and review mail directed to Borrower and its representatives
        pertaining to the Receivership Property.

  (o)   To seek assistance of law enforcement officials as necessary to
        preserve the peace and protect the Receivership Property.

  (p)   To continue, manage, operate, lease, market (including, without
        limitation, through the hiring of a broker) and, with the consent of
        Lender, to sell the Receivership Property pursuant to 28 U.S.C. §§
        2001, 2002 and 2004; provided, that completion of any such sale shall
        be subject to confirmation of the court. Out of the monies arising
        from a sale of the Receivership Property, the Receiver is authorized to
        pay to Lender the amounts due on the Loan, including all interest,
        premiums and penalties, if any, and all attorneys’ fees, the expenses of
        the sale, and costs, expenses and disbursements of this action, together
        with the sums which may have been and may be paid by Lender for
        insurance, taxes, franchise fees, charges and assessments on or
        relating to the Receivership Property, with interest thereon, so far as
        the amount of such monies properly applicable thereto shall suffice
        therefore.

  (q)   To make payments and disbursements, in the ordinary course of
        business, as may be needed and proper for the preservation of the
        Receivership Property.

  (r)   To enforce any existing contracts, permits, licenses, leases affecting
        the Receivership Property.

  (s)   To: (1) enter into occupancy agreements and do all things necessary to
        continue normal Receivership Property operations; (2) execute,
        cancel, modify, renegotiate or abrogate all service, maintenance or
        other similar contracts not in excess of $5,000 relating to the
        operations of the Receivership Property (provided, that all such
        contracts are to be terminated upon a sale or disposition of the
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        Receivership Property or termination of the receivership); (3) pay all
        utilities, taxes, expenses and other obligations secured by, or which
        may give rise to, liens, and all other outstanding obligations to
        suppliers and servicers in the ordinary course of business; (4) make
        repairs necessary to the maintenance of the Receivership Property, in
        order to preserve the Receivership Property in the ordinary course of
        business, provided, however, that the Receiver shall not make any
        improvements, repairs and/or remediations having a cost of $5,000 or
        more without first obtaining Approval; and (5) take all steps necessary
        to comply with all requirements, regulations and laws applicable to
        the Receivership Property, and to deal with all regulatory authorities
        in connection with the same.

  (t)   To, in its discretion, institute, prosecute, defend, compromise and/or
        intervene in or become a party to such actions or proceedings in state
        or federal courts which may in the Receiver’s opinion be necessary
        for the protection, maintenance and preservation of the Receivership
        Property, for the carrying out of the terms of any order of the court
        affecting the Receivership Property, to collect rents and other amounts
        now or hereafter becoming due, to remove tenants or other persons or
        entities from the Receivership Property, and/or to defend against any
        action brought against the Receiver acting in such capacity, and, with
        approval of the Lender, to utilize counsel for Lender and/or retain
        other counsel in connection with the foregoing.

  (u)   To operate under the existing liquor license (if any) related to the
        Receivership Property and promptly make application, if the Receiver
        deems such application necessary or preferable, to the appropriate
        authorities to obtain an amended or new liquor license to sell
        alcoholic beverages as an incident to the operation of the Receivership
        Property. All existing licenses relating to the operation of the
        Receivership Property, including but not limited to any alcohol and
        beverage license(s), issued in the name of the Borrower are hereby
        assigned to the Receiver.

  (v)   To engage contractors and skilled trades on a competitive bid basis to
        complete improvements to the Receivership Property and/or the
        Receivership Property and to maintain the Receivership Property
        and/or the Receivership Property, and to execute contracts for such
        purposes as the Receiver deems appropriate, if the aggregate amount

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              will be $5,000 or less or with respect to a life-threatening or other
              health or safety emergency.

     (w)      To hire counsel and accountants, and professionals as the Receiver
              may from time to time deem appropriate on such terms and conditions
              as agreed to by the Lender prior to any such retention and as the
              Receiver deems appropriate. All fees of any such professionals shall
              be treated as operating expenses of the Receivership Property.

     (x)      To secure the continuation, renewal, reinstatement of any franchise,
              membership or license agreements (or obtain a new franchise,
              membership or license agreement) pertaining to the Receivership
              Property, including the payment of any franchise or membership fees,
              but upon terms and conditions that are subject to Approval. Further,
              the Receiver is authorized and empowered to communicate, negotiate,
              and otherwise deal with the franchisor of the Property regarding
              compliance with and the cure of any possible defaults relating to any
              franchise, membership or license agreement between Borrower and
              the franchisor, subject to Approval in the event of any amendment to
              the franchise agreement or any cure costing in excess of $5,000.

     (y)      To conduct, in its discretion, remediation of any environmental
              contamination pertaining to the Receivership Property including the
              engagement of consultants, engineers, and other experts or agents that
              may be necessary to effectuate such remediation.

     3.       Receiver’s Authority Subject to Approval.

           In carrying out the duties contained in this order, the Receiver may only

upon Approval:

     (a)      Other than as authorized in Section 2(w) above, engage contractors
              and skilled trades to complete improvements to the Receivership
              Property and/or the Receivership Property and to maintain the
              Receivership Property and/or the Receivership Property, and execute
              contracts for such purposes as the Receiver deems appropriate.

     (b)      Execute, cancel, modify, renegotiate or abrogate all service,
              maintenance or other similar contracts in excess of $5,000 relating to
              the operations of the Receivership Property. All such contracts are to

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                be terminated upon a sale or disposition of the Receivership Property
                or termination of the Receivership.

         (c)    Subject to Sections 2(t) and 3(b) above, amend, terminate or reject
                any existing contracts affecting the Receivership Property.

         (d)    Employ outside attorneys, outside accountants, agents and other
                professionals as the Receiver may from time to time deem appropriate
                on such terms and conditions as the Receiver deems appropriate. All
                fees of any such approved professionals shall be treated as operating
                expenses of the Receivership Property.

         (e)    Defend actions against Borrower related to the Property and may
                incur expenses to defend such actions to the extent that the Receiver
                believes, in its sole discretion that it will protect and preserve the
                Receivership Property.

         4.     Extent of Receiver’s Authority.

         4.1.    Although the Receiver shall have possession and control of the

Receivership Property, the Receiver shall not take title to the Receivership

Property. Title to the Receivership Property shall remain in the name of Borrower

or its assigns, unless foreclosed upon by the Lender, or otherwise sold to a third

party.

         4.2.    Without limiting or expanding the foregoing, the Receiver is

authorized to exercise all powers generally available and shall be subject to all the

duties of a Receiver under the laws of the United States and the Commonwealth of

Massachusetts that may be incidental to the management of the Receivership

Property, as described in this order. The Receiver shall have any additional powers




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that are provided by law and that the court may from time to time direct or

confirm.

      4.3.     The Receiver shall not take any action that impedes or interferes

with any foreclosure or foreclosure sale process implemented by the Lender in

carrying out the duties contained in this order, and Plaintiff shall have the right, at

its option and without the requirement of any approval of this court, to foreclose

the Mortgage and to otherwise realize upon the security for the Loan during the

pendency of the receivership.

      4.4.     The Receiver shall, during the pendency of this action, have the right

to apply to this court for further guidance, instructions or directions.

      4.5.     The Receiver is authorized to act on behalf of, and in Borrower’s

name (or the Receiver’s name), as the Receiver deems appropriate without further

order of this court and without personal recourse against the Receiver (subject to

the general provisions, below).

      4.6.     Neither the Lender nor the Receiver shall be liable for any obligation

of Borrower relating to the Receivership Property that arose prior to the entry of

this order, including, without limitation, any unliquidated or contingent

obligations. Additionally, neither the Lender nor the Receiver shall be obligated to

advance any funds to pay any expense of maintenance or other liability of the

Receivership Property. Notwithstanding the foregoing, should the Lender, in its


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discretion, decide to advance funds to maintain or preserve the Receivership

Property, all advances to the Receiver by the Lender for the benefit of the

Receivership Property, including any advances for working capital or

improvements and any other costs and expenses incurred by the Receiver under

this order shall be deemed protective advances under the Mortgage. Any such

protective advance shall be fully secured by Lender’s first priority mortgage lien

and security interest against the Property. Any and all funds advanced by Lender to

the Receiver pursuant to this order shall: (a) be deemed made pursuant to contract;

(b) be added to the amount of the indebtedness owed by Borrower to Lender; (c) be

deemed secured by the liens and security interests in favor of Lender under the

loan documents on the Receivership Property to the same extent and with the same

priority as other indebtedness secured by all existing liens and security interests

under the loan documents in favor of Lender; and (d) accrue interest at the interest

rate provided under the loan documents in favor of Lender. All such funds

advanced, including interest on advances, shall be deemed a prior lien before the

repayment of any and all other claims against the Receivership Property (except

for taxes and assessments having first priority as a matter of law) or proceeds of

either of them.




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      5.     Receivership Property and Income.

      5.1.    “Receivership Property” means and includes:

             (a)   The Receivership Property.

             (b)   All tangible and intangible property used or usable in
                   connection with the operations of the Receivership Property
                   including, without limitation, the Collateral.

             (c)   All Income (as hereinafter defined).

             (d)   All fixtures, trade fixtures or tenant improvements of every
                   kind or nature located in or upon or attached to or used or
                   intended to be used in connection with the operation of the
                   Receivership Property and any buildings, structures or
                   improvements located on the Receivership Property (to the full
                   extent of Borrower’s interest in same).

             (e)   All permits, licenses (including without limitation, liquor
                   licenses) and other contracts and other intangible property
                   pertaining to the Receivership Property or the operations of the
                   Receivership Property.

             (f)   All trade names and trademarks owned or used by Borrower in
                   connection with the Receivership Property.

             (g)   All books, records, accounts or documents that in any way
                   relate to the Receivership Property and Income.

             (h)   All other property, estate, right, title and interest as described in
                   the Mortgage and other loan documents.

      5.2.    The term “Income” means, collectively all cash, cash on hand,

checks, cash equivalents, credit card receipts, demand deposit accounts, bank

accounts, cash management or other financial accounts, bank or other deposits and

all other cash collateral (all whether now existing or later arising) of the Borrower;

current and past due earnings, revenues, rents, issues and profits, accounts or

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accounts receivable (all whether unpaid, accrued or to become due) of the

Borrower; all of the Borrower’s claims to rent, issues, profits, income, cash

collateral and all other gross income derived with respect to the Receivership

Property or business operations of the Receivership Property regardless of whether

earned before or after entry of this order.

      5.3.     Income shall be applied in the following order of priority:

             (a)    To the Receiver’s approved fees and expenses as specified in
                    this order;

             (b)    To the current post-receivership operating expenses, and those
                    expenses, prior to or after the date of the appointment of the
                    Receiver, that the Receiver determines are necessary to the
                    operation of receivership estate, including any on-site employee
                    payroll expenses, any real estate taxes and any other taxes
                    stemming from the operations of the Receivership Property and
                    use in normal business operations of the Receivership Property
                    incurred during the Receivership. The Receiver shall not make
                    disbursements other than as provided in the Approved Budget,
                    as defined in Section 6.7 below, except for:

                     (i)   life-threatening or other health or safety issues;

                    (ii)   variations on individual line items not exceeding 10% so
                           long as expenses in the aggregate are within 5% of the
                           Approved Budget on a monthly basis; or,

                   (iii)   upon Lender’s Approval;

             (c)    reserve for operating expenses of the Receivership Property,
                    working capital, capital improvements;

             (d)    To the loan balance due Lender until paid in full; and

             (e)    Any surplus to be held pending further order of the court.


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      5.4.    The Receiver shall make interim distributions of Income to Lender,

to be applied to the amounts the Borrower owes to the Lender, on a monthly basis

after payment of current operating expenses of the Receivership Property as

reflected in the Budget (as defined in Section 6.6), and a reserve for future

operating expenses of the Receivership Property, working capital, capital

improvements, and payment of Receivership Property taxes, if the Receiver’s

“cash on hand” exceeds $10,000, unless otherwise agreed in writing by Lender.

      6.     Receiver’s Compensation, Reports and Accounting

      6.1.    The Receiver shall be entitled to compensation for its services as
follows:

             (a)   Receivership/management fees equal to the greater of $4,000 or
                   3.0% of total gross revenues of the Receivership Property per
                   month; plus

             (b)   Accounting fees equal to $750 per month; plus

             (c)   Reimbursement of reasonable out of pocket expenses; plus

             (d)   A final receivership accounting fee equal to one month’s
                   Management Fee upon filing with the court of the Receiver’s
                   final accounting after the termination of the Receivership or the
                   Receiver’s removal as provided in Section 9.5.

      6.2.    The Receiver’s fees shall be paid (1) first from the Income from the

Receivership Property and (2) next by the Lender, but only to the extent that the

Income is insufficient to pay the Receiver’s compensation. The Receiver’s general




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office administration, overhead and other expenses shall not be automatically

charged against the Income or Receivership Property.

      6.3.    Nothing in this order shall require the Receiver to advance funds

other than from Income without a bond or security for payment satisfactory to the

Receiver.

      6.4.    Within thirty (30) days after obtaining possession of the

Receivership Property, the Receiver shall submit to the court and the Lender a list

of all the personal property, whether tangible or intangible, of which it has taken

possession.

      6.5.    Beginning in the calendar month following the entry of this order,

by the twentieth (20th) day of each calendar month, the Receiver shall prepare a

report on a monthly basis (each, a “Monthly Report”) pertaining to the Receiver’s

activities and the operations of the Receivership Property during the immediately

preceding month, including, without limitation, a summary of the Receiver’s

activities, an accounting of funds, assets and property in its possession, a report on

the status of any legal claims or issues, an income and expense statement, balance

sheet and a cash flow analysis of the Receivership Property. The Receiver shall

include in each Monthly Report a request for payment of its reasonable out-of-

pocket expenses and shall serve the Monthly Report on the Lender and the




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Borrower. Absent written objection by Lender or Borrower, the Receiver may

make payment of the requested amounts.

      6.6.    The Receiver shall further prepare such additional budgets and

projections as may be requested by Lender.

      6.7.    The Receiver shall respond in a timely manner to reasonable

requests by the Lender or Borrower for information regarding the Receivership

Property, and shall furnish to the parties’ counsel any additional information

regarding the Receivership Property as required by law and as may be reasonably

requested by them, but the Receiver is authorized to request instructions from this

court should any party request information on documents which are unduly

burdensome or expensive to produce, or to annoy or harass or for any other

improper purpose.

      6.8.   The Receiver shall furnish any reports to the following:

                    Sang Hyeon Cho
                    AVP & Special Assets Officer II
                    Special Assets Department
                    Bank of Hope
                    3200 Wilshire Blvd., 7th Fl.
                    Los Angeles, CA 90010

             with a copy to each of the following persons:

                    Gregory M. Taube, Esq.
                    Nelson Mullins Riley & Scarborough LLP
                    201 17th Street N.W.
                    Suite 1700
                    Atlanta, GA 30363
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The Receiver shall also furnish a copy of any reports to each additional party who

has entered an appearance in this matter.

      7.     Management Agreement.

      7.1.    Subject to prior consent of Lender (except as set forth in Section

7.3), the Receiver is authorized to assign the duties of operating the Receivership

Property to a third party (the “Manager”). The Receiver and the Manager shall

enter into a written contract consistent with this order (the “Management

Agreement”), pursuant to which the Receiver may delegate responsibility for

management of the Receivership Property to the Manager.

      7.2.    In the event that the Receiver hires a Manager pursuant Section 7.1,

the fees payable to the Receiver pursuant to Section 6.1 shall additionally serve as

compensation in full of the Manager for its operation of the Receivership Property,

and no additional management fees or other compensation shall be payable to the

Receiver or the Manager. The aggregate fees payable to the Receiver and the

Manager shall not exceed the amounts listed in Section 6.1.

      7.3.    Notwithstanding anything herein to the contrary, the Receiver may

appoint Tylden Hospitality or an affiliate thereof as the Manager without prior

consent of Lender.




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      8.     Confidentiality.

      8.1.    “Confidential Information” means the Receiver’s Reports and any

other non-public information.

      8.2.    The parties to this action, their counsel and all those in active

concert or participation with them, with actual or constructive notice of this order,

or otherwise, shall keep all confidential information provided by the Receiver

confidential, and all such persons are prohibited from disclosing any such

confidential information to anyone other than the parties to this action and their

counsel without specific order of this court, except that Lender and its attorneys

and agents may provide potential purchasers, consultants, or other appropriate

persons with information useful for the marketing, leasing, selling or management

of the Receivership Property.

      9.     Term and Final Accounting.

      9.1.    This Receivership shall continue until further order of the court.

      9.2.    The Receiver shall be removed or replaced either (1) automatically

thirty (30) days after the filing of a written demand for removal signed by Lender’s

counsel or the Receiver and filed with the court; or (2) in the court’s equitable

discretion upon a motion for cause. If the Receiver is removed, a successor

receiver may be appointed by a stipulated order on behalf of Lender and Borrower.

If Lender and Borrower cannot agree on a successor receiver, the court will name a


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successor receiver by further order after a motion is filed by Lender or Borrower

requesting the appointment of a successor receiver.

      9.3.    Immediately upon termination of the Receivership, the Receiver

shall turn over to Lender or its designee (including any property manager), all of

the Receivership Property unless otherwise ordered by the court. Notwithstanding

the foregoing, in the event that the Receivership is terminated through the sale of

the Receivership Property to a third party through a foreclosure auction or

otherwise, upon consummation of such sale, the Receiver shall turn over physical

possession of the Property and books and records in its possession regarding the

Receivership Property with the exception of cash and receivables, which the

Receiver shall retain to pay all of the bills, fees and expenses during the

Receivership period.

      9.4.    The Receiver shall submit a final accounting (with copies to the

recipients of the Receiver’s Reports as identified above) for approval by the court

within forty-five (45) days after the termination of the Receivership or the

Receiver’s removal.

      9.5.    Only after the court approves the Receiver’s final accounting may

the Receiver be discharged and any Receiver’s bond be cancelled.




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       10.     General Provisions.

       10.1.    No person or entity shall file suit against the Receiver, or take other

action against the Receiver, without an order of this court permitting a suit or

action; provided, however, that no prior court order is required to file a motion in

this action to enforce the provisions of this order or any other order of this court in

this action.

       10.2.    So long as the Receiver has acted in conformance with the terms and

conditions of this order, the Receiver shall have no liability as to any claims,

actions or causes of action of any third parties who have or would have claims

against the owner of the Receivership Property or any officer, director or partner

thereof, including, without limitation, any claims under any federal or state

environmental laws; provided, however, that the Receiver shall be liable for:

breach of any contract entered into by the Receiver; the Receiver’s own gross

negligence, intentional or willful misconduct, and malicious acts; or actions taken

by the Receiver that are not in good faith or are not authorized by the terms of this

order or any subsequent order of this court. Nothing in this order shall grant any

rights to trade creditors or general unsecured creditors, whose rights shall be solely

determined in accordance with Alabama law. Receiver’s liability shall be limited

to the Receivership Property.




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      10.3.    The Receiver and its officers, directors, employees, agents and

attorneys shall have no personal liability and they shall have no claim asserted

against them relating to the Receiver’s duties under this order, except for claims

due to their gross negligence, intentional or willful misconduct, malicious acts

and/or the failure to act in good faith or to comply with this court’s orders.

      10.4.    Notwithstanding any provision in this order to the contrary, Receiver

does not assume and is not obligated to assume and will not be obliged to pay,

perform or otherwise discharge and Employment-Related Liability (as defined

below) of Borrower. Borrower is and will solely and exclusively liable with respect

to all Employment-Related Liabilities. Without limitation of the generality of the

foregoing, “Employment-Related Liabilities” includes all liabilities of Borrower to

any former or current employee in any way related to such employee’s

employment with or separation from the Borrower including, but not limited to,

any claims: (a) for salary, wages, commissions, bonuses, benefits, vacation, or any

other form of compensation; (b) arising out of any acts or omissions of Borrower

or Borrower’s agents and representatives with respect to any benefit plan,

employee practices or employee programs, including employee claims of

discrimination, retaliation or other wrongful conduct or discharge decisions;

(c) severance liabilities; (d) obligations under employment contracts or any other

related agreements with employees; (e) any change of control amounts payable to


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any employees; (f) all liabilities under the Worker Adjustment and Retraining

Notification Act (WARN) 29 U.S.C. 2101 et seq, or similar state statute or

regulation; and (f) any other statutory or common law claim.

      10.5.    Borrower,      its   partners,   stockholders,    officers,   directors,

representatives, servants, contractors, agents, property manager and all those in

active participation or concert with them with actual or constructive notice of this

order, and all those having claims against the Receivership Property who receive

notice of this order, are enjoined from and shall not:

              (a)   Commit Waste. Commit any waste on all or any part of the
                    Receivership Property, or commit any act on all or any part of
                    the Receivership Property in violation of law, or remove,
                    transfer, encumber or otherwise dispose of any of the
                    Receivership Property.

              (b) Collect Income. Demand, collect, receive, discount, or in any
                  other way divert or use any of the Income.

              (c)   Terminate Any Utility Service. Terminate or withhold any
                    electric, gas, water, sewer, telephone or other utility service
                    supplying the Receivership Property, require any utility deposit
                    or otherwise interfere with the continued operations of the
                    Receivership Property.

              (d) Interfere with the Receiver. Directly or indirectly interfere in
                  any manner with the discharge of the Receiver’s duties under
                  this order or the Receiver’s possession of and operation or
                  management of the Receivership Property.

              (e)   Transfer or Encumber the Receivership Property. Expend,
                    disburse, transfer, assign, sell, convey, devise, pledge, mortgage,
                    create a security interest in, encumber, conceal or in any manner
                    whatsoever deal in or dispose of the whole or any part of the


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                    Receivership Property including, but not limited to, the Income,
                    without prior order of this court.

              (f)   Impair the Preservation of the Receivership Property. Do any
                    act which will, or which will tend to impair, defeat, divert,
                    prevent or prejudice the preservation of the Receivership
                    Property, including the Income, or the preservation of Lender’s
                    interest in the Receivership Property and the Income.
                    Specifically, but without limitation, neither the Borrower, any
                    person with an interest in the Borrower, or the property manager
                    or its employees, shall delete or destroy any information with
                    respect to the Receivership Property including, without
                    limitation, information maintained on a storage device.

      10.6.    The Receiver shall have no rights other than as expressly set forth in

this order and shall have no right to commence any action against the Lender or

Borrower, or their respective officers, directors, shareholders, employees,

attorneys, partners or affiliates; provided, however, that notwithstanding the

foregoing, the Receiver may commence an action to the extent the Receiver

reasonably deems such action necessary to enforce the terms of this order or to

protect the Receivership Property under the control of the Receiver.

      10.7.    The Receiver is required to exercise good faith business judgment in

fulfilling its duties and responsibilities pursuant to this order, and shall faithfully

perform and discharge the Receiver’s duties and obey the court orders.

      10.8.    The Receiver is subject to personal jurisdiction of the court.




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        10.9.    Upon approval of this order by the court, the Receiver shall be

bound by each and every term contained in this order and each and every

obligation of the Receiver imposed by this order.

        10.10. Nothing in this order is intended, nor shall it be construed, to

constitute a waiver of any of the Lender’s rights and remedies under the Mortgage

or any other loan documents and applicable law and equity against the Borrower

and/or against any other person(s), including any guarantor of the Loan, all of

which rights and remedies are expressly reserved

        10.11. Notice of entry of this order shall be served by the Receiver upon all

creditors of Borrower for whom the Receiver is able to obtain addresses.

        11.     Amendment of Order.

        This order may be amended for cause after a motion or hearing. This order

may also be amended by agreed order by Lender, Borrower and the Receiver, and

approved by the court.

12.     No Prejudice to Foreclosure/Final Order.

        12.1.    This order shall not prejudice Lender’s foreclosure of the Mortgage,

or any action by Lender under any security agreement or under the Uniform

Commercial Code with respect to the Property, or any action by Lender against

any guarantor under any guaranty of the Loan, or any of Lender’s other claims as




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set forth in the Complaint or any amendments thereto.

            DONE, this the 21st day of January, 2021.


                                     /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE
